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UNITED STATES DISTRICT COURT                                    ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
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MICHAEL D. COHEN,                                               DATEFILED=         t.rf,;;/rZ
                                                   18 MJ 3161 (K.MW)
                      V.
                                                   ORDER
UNITED STATES OF AMERICA,

                       Defendant( s).



KIMBA M. WOOD, District Judge:

      The Court GRANTS the application of President Trump to intervene in this proceeding.

      SO ORDERED.


Dated: New York, New York
       April 13, 2018



                                                   THE HON. KIMBA M. WOOD
                                                   United States District Judge
